                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION


UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )
v.                                           )      Case No. 12-00386-07-CR-W-DGK
                                             )
VERDIE CARR, JR.,                            )
                                             )
                      Defendant.             )


                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

       The Defendant appeared before me pursuant to Fed.R.Crim.P. 11, Local Rule 72.1(j)(27),

and 28 U.S.C. § 636, waived indictment and entered a plea of guilty pursuant to Fed.R.Crim.P.

11(c)(1)(C) to Count One of the Information. I determined that the guilty plea is knowledgeable

and voluntary and that the offense charged is supported by an independent basis in fact containing

each of the essential elements of such offense. A record was made of the proceedings and a

transcript is available. I therefore recommend that the plea of guilty be conditionally accepted

and that the Court defer a decision on the plea agreement until the Court has reviewed the

presentence report as contemplated by Fed.R.Crim.P. 11(c)(3).

       Failure to file written objections to this Report and Recommendation within fourteen days

from the date of its service shall bar an aggrieved party from attacking such Report and

Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).



                                                           /s/ Sarah W. Hays
                                                          SARAH W. HAYS
                                                 UNITED STATES MAGISTRATE JUDGE




      Case 4:12-cr-00386-DGK          Document 244        Filed 03/21/14      Page 1 of 1
